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                                                                 DeLisle       05/22/20 Page 1 of 1
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       Jack McMahon <mcmahonlaw@hotmail.com>
       Wed 5/13/2020 4 20 PM
       To: Nancy DeLisle <Nancy_DeLisle@paed.uscourts.gov>
       Cc: anthony.wzorek_usdoj.gov <Anthony.wzorek@usdoj.gov>; michelle.morgan2_usdoj.gov
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       The 74 page order/ruling by US District Judge Michael Shea was ﬁled yesterday afternoon

       Martinez-Brooks v. D.Easter and M.Caraval No. 3:20-cv-00569 in federal district court
       Connecticut




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